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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


     3D SCAN GUIDE LLC,

                 Plaintiff                               Case No. 2:23-cv-194


                 v.                                      JURY TRIAL DEMANDED


     CHROME FULL ARCH GUIDED
     SYSTEMS; and ROE DENTAL
     LABORATORY, INC.,

                 Defendants


                      ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff 3D Scan Guide LLC (“Plaintiff” or “3D Scan”) hereby files this Original Complaint for

Patent Infringement against Defendants Chrome Full Arch Guided Systems (“CFGS”) and ROE Dental

Laboratory, Inc. (“RDL”) (jointly and severally as “Defendant”), and alleges, upon information and

belief, as follows:

                                            THE PARTIES

1.      Plaintiff 3D Scan Guide LLC is a limited liability corporation organized and existing under the

        laws of the State of Delaware with its principal place of business at 18 East 48th Street, Suite

        1702, New York, New York 10017.

2.      Upon information and belief, Defendant Chrome Full Arch Guided Systems is an unincorporated

        entity of unknown legal status owned and operated by, and for the benefit of, Defendant ROE

        Dental Laboratory, Inc. through at least Messrs. Bruce Kowalski and Jay Watson.             On

        information and belief, Defendant Chrome Full Arch Guided Systems maintains business



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     locations across the United States in the form of “Chrome Labs”, including at least two

     independent physical locations within this Judicial District, at 3309 Essex Drive, Richardson,

     Texas 75082 and at 2801 Capital Street, Wylie, Texas 75098. On information and belief,

     Defendant Chrome Full Arch Guided Systems may be served at its principal place of business

     located at 7100 East Pleasant Valley Road, Suite 150, Independence, Ohio 44131 or, in the

     alternative, by serving the registered agent for service for Defendant ROE Dental Laboratory,

     Inc. (which is also the agent and registrant of record for CFGS) as follows: Dana A. Banks, 7165

     East Pleasant Valley Road, Independence, Ohio 44131. On information and belief, CFGS

     makes, markets, sells, and internally uses a variety of dental technologies (including but not

     limited to the infringing products identified herein) across the United States, and particularly

     within this Judicial District.




     See https://chromeguidedsmile.com/about-chrome/.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                         2
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     See https://chromeguidedsmile.com/chrome-lab-locations/.




     See https://tmsearch.uspto.gov/bin/gate.exe?f=doc&state=4807:lmt1dq.4.3.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                      3
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      See https://businesssearch.ohiosos.gov/.

3.    Upon information and belief, Defendant ROE Dental Laboratory, Inc. is a domestic business

      corporation organized and existing under the laws of the State of New York, with a principal

      place of business located at 1115 East 2nd Street, Jamestown, New York 14701. Defendant may

      be served through its registered agent as follows: Dana A. Banks, 7165 East Pleasant Valley

      Road, Independence, Ohio 44131. On information and belief, RDL makes, markets, sells, and

      internally uses a variety of dental technologies (including but not limited to the infringing

      products identified herein) across the United States, and particularly within this Judicial District.




      See https://businesssearch.ohiosos.gov/.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                4
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      See https://businesssearch.ohiosos.gov/.

4.    Upon information and belief, Defendants are engaged in a Joint Enterprise to exploit and

      monetize the Accused Instrumentalities in the United States, including within this Judicial

      District, and are jointly and severally liable to Plaintiff for all damages resulting therefrom. By

      way of example, and on information and belief, Defendant RDL is the registered agent and

      registrant in the State of Ohio for the trade name associated with Defendant CFGS. Further, the

      agent/registrant for Defendant RDL in the State of Ohio is Mr. Bruce Kowalski, who is also the

      individual named in the recorded Patent Assignment (License) for United States Patent Nos.

      11,576,755 and 11,589,963. Those same two United States Patents are likewise promoted by

      Defendant CFGS as the so-called “CHROME Patents.” Further, as noted above, the business

      headquarters for each of Defendants are adjacent to one another in Independence, Ohio, and the

      business address listed with the Ohio Secretary of State for Defendant CFGS is the same address

      as is listed for Defendant RDL. Stull further, the Accused Instrumentalities are marketed in the

      same form, using the same names (e.g., CHROME Natural), by both Defendants.                     On

      information and belief, there exists written agreement(s) among and between Defendants CFGS

      and RDL governing the rights, duties, and responsibilities of each entity in their collective effort


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              5
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     to exploit and monetize the Accused Instrumentalities in the United States, including within this

     Judicial District, all to the harm of Plaintiff.




     See https://patentcenter.uspto.gov/applications/17670362/assignments/assignment/
     reel/060521/frame/0211.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          6
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      See https://chromeguidedsmile.com/chrome-patent/.




      See https://businesssearch.ohiosos.gov/#BusinessNameDiv.

                                 JURISDICTION AND VENUE

5.    This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338.




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6.    Defendant makes, uses, sells, offers for sale, imports, and/or distributes in the United States,

      including within this Judicial District, dental products for tooth replacement solutions and

      oral tissue regeneration. On information and belief, Defendant designs, manufactures, uses,

      imports into the United States, sells, and/or offers for sale in the United States products that

      infringe the Asserted Patent, directly and or through intermediaries, as alleged herein. Defendant

      markets, sells, and/or offers to sell its products and services, including those accused herein of

      infringement, to actual and potential customers and end-users located in the State of Texas and in

      this Judicial District, as alleged herein.

7.    This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

      business contacts with the State of Texas. Defendant directly conducts business extensively

      throughout the State of Texas by manufacturing, providing, selling, offering for sale, importing,

      and/or distributing Accused Products (as defined herein) and services; and/or by inducing others

      to make and use its Accused Products and services in an infringing manner; and/or contributing

      to the making and use of Accused Products and services by others, including its customers, who

      directly infringe the Asserted Patent. Defendant has purposefully and voluntarily made its

      services and training, including the infringing products, available to residents of this District and

      into the stream of commerce with the intention and expectation that they will be used by

      consumers in this District.

8.    Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least 28 U.S.C. §§

      1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business

      presence in this District.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               8
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       See https://chromeguidedsmile.com/chrome-lab-locations/.
                                       PATENTS-IN-SUIT

9.     Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patents No. 7,210,881 and RE

       47,368. By way of this Complaint, Plaintiff alleges infringement of the claims of RE 47,368

       (hereinafter “the Asserted Patent” or “the ’368 Patent”).

10.    By operation of law, United States Patent No. 7,210,881 (“the ’881 Patent”) was originally

       issued and exclusively vested to the sole named inventor, Alex M. Greenberg, as of the date of

       issuance on May 1, 2007. See 35 U.S.C. § 261; Schwendimann v. Arkwright Advanced Coating,

       Inc., 959 F.3d 1065, 1072 (Fed. Cir. 2020); Suppes v. Katti, 710 Fed. Appx. 883, 887 (Fed. Cir.

       2017); Taylor v. Taylor Made Plastics, Inc., 565 Fed. Appx. 888, 889 (Fed. Cir. 2014). Mr.

       Greenberg, in a written instrument dated April 30, 2015, and filed with the United States Patent

       and Trademark Office on May 4, 2015 at Reel 035553 and Frames 0504-0506, assigned all

       rights, title, and interest in the ’881 Patent, together with all continuing and reissue applications

       therefrom, to Greenberg Surgical Technologies LLC. On June 9, 2015, United States Patent No.

       9,050,665 (“the ’665 Patent”) issued to Alex M. Greenberg. The ’665 Patent issued as a

       continuing application from the ’881 Patent. Thereafter, on June 6, 2017, Mr. Greenberg filed an



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                9
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        Application to Reissue the ’665 Patent and, following full and proper examination, the ’665

        Patent was reissued by the United States Patent and Trademark Office as RE 47,368 on April 30,

        2019.   Thereafter, in a written instrument dated December 17, 2019, Greenberg Surgical

        Technologies LLC assigned all rights, title, and interest in the ’881 Patent and the ’368 Patent to

        the Plaintiff, 3D Scan Guide LLC. The aforementioned assignment was filed with the United

        States Patent and Trademark Office on February 28, 2020 at Reel 051967 and Frames 0351-

        0353. As such, Plaintiff 3D Scan Guide LLC has sole and exclusive standing to assert the ’368

        Patent and to bring these causes of action.

11.     The ’368 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of the

        United States Code.

12.     The inventions described and claimed in the ’368 Patent were invented individually and

        independently by Alex M. Greenberg.

13.     The ’368 Patent includes numerous claims defining distinct inventions.

14.     By way of example, Claim 11 of the ’368 Patent recites as follows:

        A template for use with an instrument for penetrating an uncut irregular surface through
        a hole in said uncut irregular surface, said hole being located at a desired location on
        said uncut irregular surface, said template comprising:

                a body including a custom surface shaped as a negative impression of the uncut
        irregular surface to conform to the uncut irregular surface, the body having a receiving
        section;

                a removable portion configured to be arranged in the receiving section;

                a removable guideway arranged at the removable portion and having a first end
        positioned to open onto said desired location when said body is placed in conforming
        contact with said uncut irregular surface, wherein the removable guideway comprises
        an inner piece and an outer piece, and wherein the outer piece includes an outer surface
        configured to engage an inner surface of the removable portion;

                means for securing said removable portion to said body; and




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              10
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               the inner piece configured as a stop for limiting a depth of penetration of said
        instrument into said hole.

15.     As described in great detail in the specification of the ’368 Patent, a preferred embodiment of the

        template is for use with an instrument to drill a hole in a surface at a desired location. The

        template includes a body which has a negative impression of the surface, a guideway having a

        first end positioned to open onto the desired location when the body is placed in conforming

        contact with the surface, and a second end positioned on an exterior surface of the body. The

        second end of the guideway is connected to the first end by a passage. The template also

        includes a stop for limiting the depth of penetration of the drill bit into the hole.

16.     The priority date of the ’368 Patent is at least as early as May 20, 2005. As of the priority date,

        the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

17.     The ’368 Patent relates generally to apparatuses for use with an instrument to drill a hole in a

        surface (e.g., the interior of a dental patient’s mouth) at a desired location. The template includes

        a body which has a negative impression of the surface, and a guideway having a first end

        positioned to open onto the desired location when the body is placed in conforming contact with

        the surface and a second end positioned on an exterior surface of the body. The second end of

        the guideway is connected to the first end by a passage. The guideway is preferably positioned

        in a portion of the template which is removable from the remainder thereof. The template also

        includes a stop for limiting the depth of penetration of the drill bit into the hole, a first fastener

        for attaching the stop to the body and a second fastener for fastening the removable portion of

        the template to the remainder of the template. See Abstract, ’368 Patent.

18.     As noted, the claims of the ’368 Patent have priority to as early as May 20, 2005, or at minimum

        as early as May 22, 2006 (the “Date of Invention”). At that time, the customary procedures for

        carrying our oral surgery (including the use of drilling apparatuses) were deficient in their



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        inability to adequately safeguard the depth of drilling. Such was of critical importance, as

        improperly drilled holes can have catastrophic and irreparable consequences. See ’368 Patent at

        1:33-2:38. The inventive template, as claimed, was an unconventional approach at the time,

        including because it uniquely provides for guidance of the dental instrument for entering a hole

        in a surface at a desired location, at a desired trajectory, and to a desired depth. Id. at 4:53-57.

19.     As of the Date of Invention, it was unconventional and non-routine to create templates having

        removable portions including removable guideways as claimed. See Amendment After Final,

        dated June 20, 2018, at pages 9-11.

20.     After giving full proper credit to the prior art and having conducted a thorough search for all

        relevant art and having fully considered the most relevant art known at the time, the United

        States Patent Examiners allowed all of the claims of the ’368 Patent to issue. In so doing, it is

        presumed that Examiners Schaper and Wehner used their knowledge of the art when examining

        the claims. K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is

        further presumed that Examiners Schaper and Wehner had experience in the field of the

        invention, and that the Examiners properly acted in accordance with a person of ordinary skill.

        In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002). In view of the foregoing, the claims of

        the ’368 Patent are novel and non-obvious, including over all non-cited art which is merely

        cumulative with the referenced and cited prior art. Likewise, the claims of the ’368 Patent are

        novel and non-obvious, including over all non-cited contemporaneous state of the art systems

        and methods, all of which would have been known to a person of ordinary skill in the art, and

        which were therefore presumptively also known and considered by Examiners Schaper and

        Wehner.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                     12
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21.     The claims of the ’368 Patent were all properly issued, and are valid and enforceable for the

        respective terms of their statutory life through expiration, and are enforceable for purposes of

        seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

        Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

        patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

        beyond its expiration date. For example, an expired patent may form the basis of an action for

        past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations

        omitted).

22.     The nominal expiration date for the claims of the ’368 Patent is no earlier than June 5, 2025.

                              THE ACCUSED INSTRUMENTALITIES

23.     Upon information and belief, Defendant makes, uses, sells, offers for sale, imports, and/or

        distributes in the United States, including within this Judicial District, SMOP template products

        and products that are made, sold, offered for sale or operate in a substantially similar manner.

        Such products are marketed as: CHROME GuidedSMILE, including CHROME Natural,

        CHROME Replica, CHROME Standard, and CHROME Zygo (collectively, the “Accused

        Products”).




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     See https://www.roedentallab.com/products/chrome-guidedsmile/guided-surgery-decisions/
     chrome-standard/.




     See https://www.roedentallab.com/products/chrome-guidedsmile/guided-surgery-decisions/
     chrome-natural/.




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     See https://www.roedentallab.com/products/chrome-guidedsmile/guided-surgery-decisions/
     chrome-replica/.




     See https://www.roedentallab.com/products/chrome-guidedsmile/guided-surgery-decisions/
     chrome-zygo/.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                    15
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        See https://chromeguidedsmile.com/chrome-family-of-products/.

                                              COUNT I
                              Infringement of U.S. Patent No. RE 47,368

24.     Plaintiff incorporates the above paragraphs by reference.




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25.     Defendant has been on actual notice of the ’368 Patent at least as early as the date it received

        service of this Original Complaint.

26.     Upon information and belief, Defendant makes, uses, sells, offers for sale, imports, and/or

        distributes the Accused Instrumentalities and generates substantial financial revenues therefrom.

27.     Upon information and belief, Defendant has directly infringed and continues to directly infringe

        at least Claim 11 of the ’368 Patent by making, using, importing, selling, and/or, offering for sale

        the Accused Instrumentalities. The Accused Instrumentalities themselves comprise each and

        every limitation of Claim 11, and therefore directly and literally infringe (or, in the alternative,

        infringe under the doctrine of equivalents).

28.     The Accused Products comprise “[a] template for use with an instrument for penetrating an uncut

        irregular surface through a hole in said uncut irregular surface, said hole being located at a

        desired location on said uncut irregular surface,” as detailed and depicted below.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               17
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        See https://www.roedentallab.com/products/chrome-guidedsmile/guided-surgery-
        decisions/chrome-standard/

29.     The Accused Products further comprise “a body including a custom surface shaped as a negative

        impression of the uncut irregular surface to conform to the uncut irregular surface, the body

        having a receiving section,” as detailed and depicted below.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                        18
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     See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
     guidedsmile-components/pin-guide/




     See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
     guidedsmile-components/fixation-base/




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ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                       20
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        See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
        guidedsmile-components/osteotomy-guide/

30.     The Accused Products further comprise “a removable portion configured to be arranged in the

        receiving section,” as detailed and depicted below.




        See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
        guidedsmile-components/osteotomy-guide/



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                      21
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31.     The Accused Products further comprise “a removable guideway arranged at the removable

        portion and having a first end positioned to open onto said desired location when said body is

        placed in conforming contact with said uncut irregular surface,” as detailed and depicted below.




        See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
        guidedsmile-components/osteotomy-guide/




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             22
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        See https://www.roedentallab.com/products/chrome-guidedsmile/chrome-further-
        education/chrome-training-videos/;

        also available at:
        https://vimeo.com/720010415?embedded=true&source=video_title&owner=178280809

32.     The Accused Products further comprise a removable guideway which comprises “an inner piece

        and an outer piece, and wherein the outer piece includes an outer surface configured to engage an

        inner surface of the removable portion,” as detailed and depicted above.

33.     The Accused Products further comprise a “means for securing said removable portion to said

        body,” as detailed and depicted below.




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        See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
        guidedsmile-components/osteotomy-guide/

34.     The Accused Products further comprise “the inner piece configured as a stop for limiting a depth

        of penetration of said instrument into said hole,” as detailed and depicted below.




        See https://www.roedentallab.com/products/chrome-guidedsmile/day-of-guided-surgery/chrome-
        guidedsmile-components/osteotomy-guide/

35.     Plaintiff has suffered damages as a result of Defendant’s direct infringement of the ’368 Patent in

        an amount adequate to compensate for such infringement, but in no event less than a reasonable


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              24
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        royalty from the date of first infringement to the expiration of the ’368 Patent for the use made of

        the invention by Defendant, together with interest and costs as fixed by the Court.

36.     To the extent Defendant continues, and has continued, its infringing activities noted above in an

        infringing manner post-notice of the ’368 Patent, including upon actual notice as of November

        19, 2020 (via written actual notice), such infringement is necessarily willful and deliberate.

37.     On information and belief, Defendant has a policy or practice of not reviewing the patents of

        others. Further on information and belief, Defendant instructs its employees to not review the

        patents of others for clearance or to assess infringement thereof. As such, Defendant has been

        willfully blind to the patent rights of Plaintiff.

38.     Each of Defendant’s aforesaid activities have been without authority and/or license from

        Plaintiff.

                                             COUNT II
                           Induced Infringement of U.S. Patent No. RE 47,368

39.     Plaintiff incorporates the above paragraphs by reference.

40.     On information and belief, as of November 19, 2020 (via written actual notice), or at least as

        early as the date of receipt of this Original Complaint, Defendant has been and is presently

        indirectly infringing one or more claims of the ’368 Patent, by inter alia actively inducing

        infringement of the ‘368 Patent under 35 U.S.C. § 271(b). On information and belief, such

        inducements include without limitation, with specific intent to encourage the infringement,

        knowingly inducing oral surgeons and dentists to use infringing articles that Defendant knows or

        should know infringe one or more claims of the ’368 Patent. On information and belief,

        Defendant, inter alia, creates and provides its infringing surgical guide templates and instructs

        and directs oral surgeons and dentists to reassemble them in an infringing manner as claimed in

        the ’368 Patent either literally or under the doctrine of equivalents.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               25
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41.     On information and belief, as of November 19, 2020 (via written actual notice), or at least as

        early as the date of receipt of this Original Complaint, Defendant knew or was willfully blind to

        the fact that it was inducing others to infringe the ’368 Patent. On information and belief,

        Defendant knowingly and actively aided and abetted the direct infringement of the ’368 Patent

        by, inter alia, providing instructions and encouragement to oral surgeons and dentists to

        reassemble the surgical guide templates in an infringing manner.

42.     As a result of Defendant’s infringement of the ’368 Patent, Plaintiff has suffered monetary

        damages, and is entitled to an award of damages adequate to compensate it for such infringement

        under 35 U.S.C. § 284, but in no event, less than a reasonable royalty.

                                               COUNT III
                          Contributory Infringement of U.S. Patent No. RE 47,368

43.     Plaintiff incorporates the above paragraphs by reference.

44.     On information and belief, as of November 19, 2020 (via written actual notice), or at least as

        early as the date of receipt of this Original Complaint, Defendant has been and is presently

        indirectly infringing one or more claims of the ’368 Patent, by contributing to infringement of

        the ’368 Patent under 35 U.S.C. § 271(c) and/or §271(f), either literally and/or under the doctrine

        of equivalents.

45.     On information and belief, as of November 19, 2020 (via written actual notice), or at least as

        early as the date of receipt of this complaint, Defendant has contributed to the infringement of

        the ’368 Patent by, with knowledge of the ’368 Patent and its infringing use, offering and/or

        providing to oral surgeons and dentists, and/or importing into the United States, its infringing

        surgical guide templates. These infringing surgical guide templates (i) are a material part of the

        patented inventions claimed in the ’368 Patent, (ii) are not a staple article or commodity of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              26
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        commerce suitable for substantial non-infringing use, and (iii) are especially made or especially

        adapted for use in an infringement of the ’368 Patent.

46.     As a result of Defendant’s infringement of the ’368 Patent, Plaintiff has suffered monetary

        damages, and is entitled to an award of damages adequate to compensate it for such infringement

        under 35 U.S.C. § 284, but in no event, less than a reasonable royalty.

                                              COUNT IV
                                            Joint Enterprise

47.     On information and belief, and as detailed above, Defendants are engaged in a Joint Enterprise to

        exploit and monetize the infringing functionalities and features of the Accused Instrumentalities

        in the United States. On information and belief, such Joint Enterprise is based upon at least one

        written or oral agreement among the Defendants to market and collectively profit from the

        Accused Instrumentalities. By way of example, and on information and belief, Defendant RDL

        is the registered agent and registrant in the State of Ohio for the trade name associated with

        Defendant CFGS. Further, the agent/registrant for Defendant RDL in the State of Ohio is Mr.

        Bruce Kowalski, who is also the individual named in the recorded Patent Assignment (License)

        for United States Patent Nos. 11,576,755 and 11,589,963. Those same two United States Patents

        are likewise promoted by Defendant CFGS as the so-called “CHROME Patents.” Further, as

        noted above, the business headquarters for each of Defendants are adjacent to one another in

        Independence, Ohio, and the business address listed with the Ohio Secretary of State for

        Defendant CFGS is the same address as is listed for Defendant RDL. Stull further, the Accused

        Instrumentalities are marketed in the same form, using the same names (e.g., CHROME

        Natural), by both Defendants.      Again, and on information and belief, there exist written

        agreement(s) among and between Defendants CFGS and RDL governing the rights, duties, and

        responsibilities of each entity in their collective effort to exploit and monetize the Accused



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        Instrumentalities in the United States, including within this Judicial District, all to the harm of

        Plaintiff. By virtue of such agreement(s), Defendants collectively have engaged in a common

        purpose with a common pecuniary interest in the Accused Instrumentalities. Moreover, and on

        information and belief, the Defendants each possess an equal right to a voice in the direction of

        the enterprise, which gives an equal right of control over such enterprise.

                                               COUNT V
                                           Vicarious Liability

48.     In addition and/or in the alternative, and on information and belief, Defendant CFGS acts as an

        agent of Defendant RDL with respect to the Accused Instrumentalities. More specifically, and as

        discussed supra, Defendant RDL is the registered agent and registrant in the State of Ohio for the

        trade name associated with Defendant CFGS. Further, the agent/registrant for Defendant RDL in

        the State of Ohio is Mr. Bruce Kowalski, who is also the individual named in the recorded Patent

        Assignment (License) for United States Patent Nos. 11,576,755 and 11,589,963. Those same

        two United States Patents are likewise promoted by Defendant CFGS as the so-called

        “CHROME Patents.” Further, as noted above, the business headquarters for each of Defendants

        are adjacent to one another in Independence, Ohio, and the business address listed with the Ohio

        Secretary of State for Defendant CFGS is the same address as is listed for Defendant RDL. Stull

        further, the Accused Instrumentalities are marketed in the same form, using the same names

        (e.g., CHROME Natural), by both Defendants. Upon such facts and relationship, the acts of

        infringement in the United States are carried out by agents of Defendant RDL, acting under the

        authority and control of Defendant RDL.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff 3D Scan Guide LLC respectfully requests the Court enter individual

and collective joint judgment against Defendants as follows:



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     1.     Declaring that Defendants have each infringed the Asserted Patent, including willfully;

     2.     Awarding 3D Scan Guide LLC its damages suffered because of Defendants’

            infringement of the Asserted Patent(s);

     3.     Awarding 3D Scan Guide LLC its costs, reasonable attorneys’ fees, expenses, and

            interest;

     4.     Granting a permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendants from

            further acts of infringement with respect to the Asserted Patent;

     5.     Awarding 3D Scan Guide LLC ongoing post-trial royalties for infringement of the non-

            expired claims of the Asserted Patent; and

     6.     Granting 3D Scan Guide LLC such further relief as the Court finds appropriate.

                                        JURY DEMAND

     Plaintiff 3D Scan Guide LLC demands trial by jury, under Fed. R. Civ. P. 38.




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Dated: April 27, 2023                   Respectfully Submitted

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